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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

JAMES ANDREW TANNER                                                                    PLAINTIFF


v.                                     No. 4:17-CV-00780-DPM


KURT ZIEGENHORN, ET AL.                                                             DEFENDANTS

                SUPPLEMENT TO ASP DEFENDANTS’ BRIEF IN SUPPORT
                          TO THE MOTION TO DISMISS

        Comes now the Arkansas State Police (“ASP”) Defendants Colonel Bill Bryant, in his

official capacity, William Sadler, in his individual capacity, and Kurt Ziegenhorn, in his

individual capacity, by and through their attorneys, Attorney General Leslie Rutledge and

Assistant Attorney General Reid P. Adkins, and for their Supplement to their Brief in Support of

the Motion to Dismiss Plaintiff’s Amended Complaint, state:

        1.       Subsequent to filing their Motion to Dismiss, Plaintiff’s counsel notified ASP

Defendants’ counsel of a factual error in their Brief in Support of the Motion to Dismiss.

        2.       In good faith, the purpose of this supplement is to correct that error in the Brief in

Support. (DE 48).

        3.       On page 14 of ASP Defendants’ Brief in Support, footnote 1 should be deleted in

its entirety. (DE 48, p. 14, n.1).

        4.       Additionally, on page 14, the citation subsequent to footnote 1 in the body of the

brief (i.e., (DE 2, p. 3)) should read as “(DE 46, p. 13).”

        5.       Plaintiff’s counsel does not object to this supplement.

        WHEREFORE, ASP Defendants respectfully request that their Supplement to their

Motion to Dismiss be accepted.

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                                                    Respectfully submitted,

                                                    LESLIE RUTLEDGE,
                                                    Attorney General

                                             By:    Reid P. Adkins
                                                    Arkansas Bar # 2015216
                                                    Assistant Attorney General
                                                    Attorney for ADC Defendant
                                                    323 Center Street, Suite 200
                                                    Little Rock, Arkansas 72201
                                                    Telephone: (501) 683-1080
                                                    Fax: (501) 682-2591
                                                    reid.adkins@arkansasag.gov


                                                    William C. Bird III (2005149)
                                                    Assistant Attorney General
                                                    323 Center Street, Suite 200
                                                    Little Rock, Arkansas 72201
                                                    Tel: (501) 682-1317
                                                    Fax: (501) 682-2591
                                                    william.bird@ArkansasAG.gov

                                                    Attorneys for ASP Defendants



                                CERTIFICATE OF SERVICE

       I, Reid P. Adkins, Assistant Attorney General, do hereby certify that on this 5th day of

April, 2019, I electronically filed the forgoing with the Clerk of the Court using the CM/ECF

system, which shall send notification of such filing to any CM/ECF participants.




                                             By:    Reid P. Adkins




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